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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


    CENTER FOR BIOLOGICAL DIVERSITY,
    et al.,
                   Plaintiffs,
             v.
                                                  Civil Action No. 21-119 (RDM)
    MICHAEL S. REGAN, et al.,
                   Defendants.




                  FLORIDA INTERVENORS’ MOTION FOR LIMITED STAY
                       OF FEBRUARY 15, 2024 VACATUR ORDER

I.       Introduction

         On February 15, 2024, this Court vacated the Environmental Protection Agency’s (EPA’s)

approval of Florida’s Section 404 program assumption application while allowing Defendants to

“seek a limited stay of that vacatur within ten days1 of this decision.” Dkt. 163 at 96; Dkt. 164 at

1-2. As anticipated, vacatur of Florida’s program has already begun to create enormously

disruptive consequences and raise complex problems for the State and thousands of Floridians to

navigate. While Florida continues to administer its state wetlands permitting program (the “ERP”

program) for all waters and wetlands in the State, substantial confusion now exists over the ability

of applicants with pending or forthcoming applications to obtain necessary Section 404 permits in

assumable “waters of the United States.” Well over 1,000 pending 404 individual and general

permit applications – the vast majority of which have been in the Florida 404 permit review process


1
 The order was entered at 11:42 p.m. EDT on the night of February 15, 2024. The tenth day
would fall, at the earliest, on Monday, February 26, 2024, pursuant to Fed. Rule of Civ. Proc.
6(a).


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for more than six months (with many far along toward a final decision) – are now in regulatory

limbo with no clear timeline or expectation for a permit decision. This includes pending permit

applications for roads and bridges, hospital construction projects, school buildings and facilities,

affordable housing, military base projects, power grid reliability projects (including construction

of new power generation facilities and transmission lines), and various projects necessary to

improve water quality in the Everglades, just to name a handful of examples. See Wolfe Decl. ¶¶

8-10 (Exhibit A).

       The State of Florida and FDEP (collectively, Florida Intervenors) remain committed to

administering the Section 404 program for all assumable waters in a manner consistent with the

law. To that end, Florida Intervenors intend to move forward on efforts to ensure that FDEP

continues to implement the program to the fullest extent. While those details will take additional

time to sort out, Florida Intervenors respectfully move for a limited stay based on a “may affect”

concept referenced by this Court. Florida Intervenors agree that a limited stay will help to minimize

some of the disruptive consequences arising from vacatur. In this Motion, Florida Intervenors

present a workable interim solution, while also flagging several issues that, with clarification from

this Court as part of a limited stay, will further help to minimize disruptions that go beyond the

specific concerns underlying this Court’s February 15 ruling.

       While Florida Intervenors have endeavored to present a limited stay approach that is

responsive to the Court’s invitation and conditions, “partial assumption” concerns associated with

a pure “may affect” approach (as raised by Federal Defendants) would, as explained in more detail

at the end of this Motion, countenance in favor of simply using the New Jersey/Michigan model




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for purposes of a limited stay.2 A proposed Order for a limited stay based on either approach is

filed with this Motion.

II.     Standard of Review

        In this Circuit, district courts have discretion to grant a limited stay as to implementation

of a judicial vacatur order, either as part of its inherent discretion to modify its own remedy orders,

AARP v. Equal Emp. Opportunity Comm’n, 292 F. Supp. 3d 238, 245 (D.D.C. 2017), or based on

the Allied-Signal factors, Chamber of Com. v. SEC, 443 F.3d 890, 909 (D.C. Cir. 2006). Both

avenues provide strong support for granting a limited stay here. Cook Inlet Tribal Council v.

Mandregan, No. 14-CV-1835 (EGS), 2019 WL 3816573, at *4 (D.D.C. Aug. 14, 2019); AARP,

292 F. Supp. 3d at 245 (“the Court will exercise its discretion to stay the effective date of its vacatur

order until January 1, 2019”). Under the Allied-Signal factors, a court weighing the remedy to

address an agency error must consider (1) the “seriousness of the order’s deficiencies” and (2) the

likely “disruptive consequences” of vacatur. Allied-Signal, Inc. v. U.S. Nuclear Regul. Comm’n,

988 F.2d 146, 150-51 (D.C. Cir. 1993) (internal citation omitted).

III.    Limited Stay Is Necessary to Minimize Highly Disruptive Consequences of Vacatur3

        While this Court’s inherent discretion over enforcement of its own orders provides ample

basis for a stay of its vacatur order, the Allied-Signal factors confirm that a limited stay, at a

2
  In New Jersey, EPA does not “federalize those [state 404] applications likely to adversely
affect listed species.” Cf. Dkt. 163 at 5, 23 (equating “federalize” with “pass to the FWS and
NMFS for review”). Instead, those applications are forwarded to FWS for purposes of “federal
review” under 40 C.F.R. Part 233, just as occurs in Florida. See infra at 15-18. For species
review purposes, federalizing occurs where (1) a New Jersey state 404 permit would jeopardize
the continued existence of listed species and/or adversely modify designated critical habitat and
(2) New Jersey refuses to deny the permit or fails to adopt the measures deemed necessary to
avoid jeopardy. Id. Failing to adopt federal conditions to “avoid or minimize” incidental take is
also a basis for an objection in New Jersey.
3
  While seeking a limited stay here, Florida Intervenors expressly reserve the right to seek a full
stay of the order and/or stay of the District Court proceedings at a later time. Moreover, as



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minimum, is appropriate. Bauer v. DeVos, 332 F. Supp. 3d 181, 185 (D.D.C. 2018) (Moss, J.)

(“Vacatur with a brief stay may be warranted, for example, where the Allied-Signal factors are

satisfied, but where a prolonged agency remand threatens to deprive one or more parties of

significant rights.”); Friends of Earth, Inc. v. EPA, 446 F.3d 140, 148 (D.C. Cir. 2006) (remand

with instructions to vacate EPA’s approvals but recognizing that “the district court retains some

remedial discretion, however, and the parties may move to stay the district court’s order on

remand.”). This Court’s February 15 ruling assessed EPA’s approval of Florida’s assumption

program under the Allied-Signal factors and found that it is “difficult to make a definitive

determination” as to either factor on whether and how the program would operate without the

protection provided by the now-vacated BiOp and ITS and whether a scaled back version of the

program without incidental take protection could be approved by EPA. Dkt. 163 at 95.

       As this Court acknowledges, “the assumption has been in place now for over three years”

creating “expectation interests among the affected parties.” Id. Moreover, “administrative

difficulties would result from returning the permitting authority to the Corps.” Id. Accordingly,

both this Court’s ruling and the Allied-Signal factors suggest that, if the program could be

remediated and/or “EPA could authorize a more modest assumption” on remand, then a limited

stay should be granted to keep most of the Florida program in place while the federal and state

agencies decide next steps. Ctr. for Biological Diversity v. Ross, 480 F. Supp. 3d 236 (D.D.C.

2020) (vacating BiOp but staying the Order for nine months to allow the agency time to produce

new BiOp and conservation measures). A stay as to issuance of permits that will not affect

endangered species would avoid hamstringing a large number of (likely exceeding 1,000) pending

suggested in the post-hearing remedy brief (Dkt.160 at 2 n.1) and addressed in the vacatur ruling
(Dkt. 163 at 97), Florida Intervenors currently anticipate renewing their request for entry of
partial final judgment under Rule 54(b) or, in the alternative, certification of appeal under 28
U.S.C. § 1292(b).


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and forthcoming permit applications that do not implicate the ESA-based concerns underlying this

Court’s ruling and vacatur order. As also explained below, pending applications for projects that

otherwise will undergo Section 7 consultation for other reasons or will otherwise obtain Section

10 coverage should also receive the temporary benefits of this Court’s stay discretion. Requiring

that category of projects to restart the Section 404 process via transfer back to the U.S. Army Corps

of Engineers (Corps) would unnecessarily impose additional unwarranted disruptions with

potentially far-reaching consequences for public welfare, environmental protection, and economic

development in one of the fastest growing states in the nation.4

       Beyond just large-scale development projects, the vacatur order directly impedes efforts to

review and authorize a wide range of 404 permits currently pending before FDEP. Wolfe Decl. ¶

¶ 8-10. Exhibit B provides a list of all applications for individual or general 404 permits currently

pending before the FDEP for review to date. 5 This includes approximately 1,065 permit

applications of a wide variety, including many projects that benefit the environment and/or the

public, such as:

          Four public projects by the State or the Corps to improve water quality in the
           Everglades (e.g., a shoal repair project, Permit No. 0444917-001), and an emergency
           pump station repair to avoid flooding of agricultural areas in the Everglades (Permit
           No. 0444333-001)6;

          Nearly 200 public projects by state and local governments and agencies, the majority
           of which are intended to build or improve sidewalks, bridges, utilities, roads, and

4
  U.S. Census, U.S. Population Trends, available at https://www.census.gov/newsroom/press-
releases/2023/population-trends-return-to-pre-pandemic-norms.html (last visited Feb. 24, 2024)
(showing Florida as the nation’s third most-populous state with the second highest rate of
population growth).
5
 Exhibit B was exported from https://prodapps.dep.state.fl.us/pa/summarypending/PaData on
February 24, 2024.
6
 Under a longstanding consent decree entered by a federal district court in Florida, the State of
Florida is undertaking a significant number of actions in South Florida to remove nutrient
pollution from water flowing to the Everglades. FDEP is far along in the process of permitting
several of these permits.


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           highways across the state (e.g., 21 pending applications involving projects proposed by
           the state transportation department including a project to construct a wildlife crossing
           over US 27 (Permit No. 0045151-001));

          Nine solar energy projects, including several solar power stations (e.g., Permit No.
           0439260-003) and dozens of other electric utility projects impacting grid reliability;

          Stormwater infrastructure repairs and improvements at U.S. Naval Air Station-
           Pensacola due to damage from Hurricane Sally (Permit Nos. 0442107-003, 0442052-
           003);

          Three projects to build new medical facilities in different parts of the state, including a
           new emergency department in South Florida (Permit No. 0426421-001), a new 144 bed
           behavioral health hospital in Orange County (Permit No. 0433001-001), and an
           additional campus for the Mayo Clinic in Jacksonville (Permit No. 0441377-001);

          Six projects to construct new schools or improve existing school facilities, including
           construction of a new charter school (Permit No. 0427091-001) and construction of a
           secondary access road to address traffic, bus schedules and safety for an existing school
           (Permit No. 0424791-001); and

          Hundreds of housing projects, including many dozen multi-family or large single
           family developments (e.g., 128 unit senior living facility (Permit No. 0438783-001)),
           to provide residences for thousands of people in Florida’s fastest growing areas.

After months (and in over 100 cases, more than two years) of permit review, many Florida 404

permit applications were at or near the conclusion of the Section 404 permit process when the

Court’s February 15 order was issued. Of those currently pending, over 840 permit applications

have been in the permit review process for more than six months. Wolfe Decl. ¶10. Now all

pending 404 permits in Florida are in some form of regulatory limbo, at least until a new regime

can be established or further judicial orders alter the situation.7 Likewise, many of those permits




7
 When the program transferred from the Corps of Engineers to the State of Florida in December
2020, FDEP did not begin issuing 404 permits for approximately five months. Between
December 2020 and July 2021, FDEP issued 11 permits under the state 404 program. While the
Corps may be able to issue some new permits, there is limited information at this time about the
Corps’ timeframes for receiving applications and issuing final permit decisions for over a 1,000
pending Florida 404 permits. Significant delays are certainly to be expected.


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would impose mitigation measures benefitting the environment and species conservation, but those

beneficial actions are now similarly on hold as well.

       Keeping the bulk of Florida’s Section 404 Program in place would ensure the greatest

degree of environmental protection and, of particular relevance to the cooperative federalism

structure of the Clean Water Act, would ensure continued active engagement of both federal and

state agencies across all facets of 404 permitting in the State. As extensively briefed in this case,

Florida administers the Section 404 program with permit-by-permit oversight by EPA – a process

that would continue to work to protect water resources and species. Under Florida’s program, FWS

receives and reviews all Florida 404 permit applications, and FDEP “shall incorporate as permit

conditions all recommended impact avoidance and minimization measures (protection measures)

provided by the FWC, FWS, or NMFS under their respective authorities, to avoid jeopardizing

listed species or adversely modifying designated or proposed critical habitat.” Florida 404

Handbook, Section 5.2.3. This would continue in full force with a limited stay in place.

       Alternatively, bringing Florida’s Section 404 Program to an abrupt halt would severely

disrupt and delay innumerable projects across the state, negate the benefits of cooperative

federalism engagement between federal and state agencies, deprive Florida and its citizens of the

benefits of substantial investments and expenditures in the existing program, deprive permit

applicants with pending permits of the benefits of expenditures on permit applications, and cause

various other significant burdens on permit applicants, those who benefit from the projects, as well

as the general public.

IV.    Proposed Limited Stay of February 15 Vacatur Order

       In its February 15 ruling, this Court set two conditions for a limited stay request:

       (1)     the “request should exempt all pending and future permit applications that ‘may
               affect’ any listed species under the jurisdiction of the FWS or the NMFS”; and



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       (2)      the request “should propose a mechanism for determining which permit
                applications ‘may affect’ listed species.”

Dkt. 163 at 96. As this Court requested, Florida Intervenors have considered whether “any such

stay is desirable and workable” and concluded that it is.

       Under the requested limited stay, Florida would continue to process applications for all

Section 404 permits and permit modifications in assumable waters, except those which “may

affect” listed species or designated critical habitat with the contours described herein. This will not

eliminate the harsh consequences of vacatur, but it will allow Florida to continue administering

the bulk of the 404 program while the state and federal agencies determine appropriate steps to

address the Court’s order.

       To ensure that the limited stay is structured appropriately, Florida Intervenors suggest that

at least seven key questions need to be addressed and clarified by the Court, including:

             (a) What is a “may affect” situation for these purposes?

             (b) What process/mechanism should be used to identify a “may affect” situation?

             (c) What options are available to “may affect” permit applicants?

             (d) How should a limited stay address permit applications that otherwise already trigger
                 Section 7 procedures and/or will obtain Section 10 permit coverage?

             (e) To what extent may FDEP continue to enforce Section 404 violations in assumable
                 waters?

             (f) How long should the limited stay be in place?

             (g) If this Court finds that the proposed “may affect” mechanism constitutes an
                 impermissible “partial assumption” (even in the context of a limited stay order),
                 would the approach employed in New Jersey and Michigan provide a legally
                 acceptable alternative model for purposes of the limited stay?

Each of these questions is addressed in turn below.




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        A.      First, what is a “may affect” situation?

        As proposed here, a “may affect” permitting situation would include any situation where

FDEP, Florida Fish and Wildlife Conservation Commission (FWC), EPA, the U.S. Fish and

Wildlife Service (FWS), or National Marine Fisheries Service (NMFS) find, at any point in the

permit process, that a Section 404 permit application, if granted, would authorize activities that

may affect (or pose a reasonable potential for affecting) endangered or threatened species or critical

habitat. See 40 C.F.R. § 233.51(b)(2); State 404 Handbook Section 5.2.3 (Fla. Admin. Code). The

phrase “reasonable potential for affecting endangered or threatened species” (as used in EPA’s

Section 404 Program Regulations found at 40 C.F.R. Part 233 and in Florida’s Section 404

Handbook Section 5.2.3) is synonymous with the phrase “may affect listed species or critical

habitat” (as used in the ESA Section 7 regulations found at 50 C.F.R. Part 402). This “may affect”

understanding is consistent with the ESA Consultation Handbook, which explains that “may

affect” is “the appropriate conclusion when a proposed action may pose any effects on listed

species or designated critical habitat.” ESA Consultation Handbook at xvi. This can be both

adverse or beneficial effects. Similarly, the Programmatic Biological Opinion defines “may affect”

as the “appropriate conclusion made by a federal action agency in the context of the ESA or by the

State in the context of the State 404 program when a proposed activity is reasonably certain to

affect any ESA-listed species or designated critical habitat.” BiOp at vi. The BiOp further notes

that the term “reasonable potential to affect” refers to a situation where a “project may affect

federally listed species or their critical habitat.” BiOp at vii.

        B.      Second, what process/mechanism would be used for “may affect” findings
                during the period of the limited stay?

        Florida Intervenors respectfully propose to use the existing process set forth in the

Memorandum of Understanding (MOU) signed by FWC, FWS, and FDEP, the Florida 404



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Handbook (Fla. Admin. Code § 62-331.010(5)), and the Biological Opinion (page 17-30)8 with

certain additional features to alleviate concerns raised by the Court’s February 15 order as the

mechanism for determining which permit applications have a reasonable potential for impacting

listed species or designated critical habitat. This existing process is familiar to the federal and state

agencies, the regulated community, and the public. Thus, this process would serve, at least

temporarily, as the least confusing and most effective mechanism to meet the Court’s conditions

for a limited stay.

        In the current process, FDEP receives Section 404 applications and forwards a copy of all

such applications to FWS and FWC for review. Typically, FDEP, along with FWS and FWC,

exchange Requests for Additional Information (RAI). At this early stage in the permit process,

FWS and FWC “may determine whether there is reasonable potential to affect listed species, or

critical habitats, and if so, the types of effects, and any appropriate protective measures.” BiOp at

17. “These determinations are forwarded to FDEP.” Id. Where a permit application is found to

have no reasonable potential for affecting endangered or threatened species or critical habitat, the

technical assistance process ends and the state permit process continues. MOU at 13.

        For the duration of the limited stay, FDEP would administer the “may affect” process in

this manner, with two additional features to further alleviate concerns this Court might have.

Additional details for this “may affect” mechanism are outlined below and described in detail in

Exhibit C.9



8
  While this Court has vacated the Programmatic Biological Opinion, the permit review
procedures set forth in the BiOp could still be utilized by the agencies to process permits during
the period of a limited stay. In particular, those procedures are consistent with the procedures
otherwise set forth in the state regulations underpinning Florida’s program.
9
  Florida Intervenors also adopt here their prior arguments and supporting declarations regarding
a proper remedy in this case. Dkt. 160, 160-1; Dkt. 162, 162-1.


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       One, FDEP will consider a “may affect” situation as existing where FDEP, FWC, FWS,

NMFS, or EPA find that a permit application, if approved, “may affect” any federally-listed

species or designated critical habitat (as opposed to only FWS and FWC). This includes a situation

where any of these agencies find that a permit application has a “reasonable potential for affecting

endangered or threatened species or critical habitat.” In other words, to the extent any one of these

agencies makes a “may affect” finding, the Court’s limited stay order would govern how it is

processed.

       Two, an initial “no effect” finding may be revisited if, after public notice, any of these

agencies (FDEP, FWC, FWS, NMFS, or EPA) find that a permit application “may affect” listed

species or critical habitat. In other words, the initial “no effect” finding for a permit application

can be reconsidered based on comments received during the public notice process or other new

information that is received during the permitting process.10

       C.      Third, if one of the agencies triggers a "may affect” finding, what options
               would be available to the permit applicant?

       Under the limited stay requested here, any “may affect” permits would be processed in

the manner set forth in the stay order. Based on a review of the current program, Florida

currently estimates that approximately 15% of Florida 404 permit applications (including general

permits and individual permits) trigger a “may affect” finding.11 See Wolfe Decl. ¶ 13. For “may

affect” permits, FDEP would invite the permit applicant to select one of the following options:

       (1)     Request that FDEP hold the permit application in abeyance pending further notice
               from the applicant;

10
   As explained in the BiOp, these procedures typically ensure that FWS has at least 55-70 days
to provide an initial “may affect” finding. BiOp at 17.
11
  This Court noted a possible discrepancy between Florida’s estimate in 2019 that
approximately 10% of Florida permit applications require some form of incidental take coverage,
while Florida estimated in its most recent filings with this Court that approximately 1.4% of



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       (2)     Amend the permit application with changes to ensure “no effect” on listed
               species/critical habitat;

       (3)     Withdraw the permit application; or

       (4)     Request that FDEP transfer the permit application file to the Corps of Engineers
               for processing.

This set of options accounts for the evolving 404 situation in Florida while also seeking to

minimize concerns based on EPA’s view about “partial assumptions” of the 404 program. (As

explained later in this Motion, if EPA’s concerns in that respect are a hindrance to this Court’s

inclination to grant the limited stay as requested here, this Court should simply align the limited

stay with the approaches allowed by the federal agencies in New Jersey and Michigan.)

       D.      Fourth, what happens to Florida 404 permit applications that independently
               involve Section 7 procedures (e.g., federal funding) or otherwise are obtaining
               Section 10 coverage?

       Florida Intervenors would respectfully suggest at least one ”may affect” scenario where

FDEP should retain 404 permitting authority during the period of the limited stay: permit

applications where a project has been, is, or necessarily will be subject to a Section 7 consultation

process (e.g,, for a project requiring an additional federal action triggering Section 7 consultation

procedures)12 or a Section 10 Incidental Take Permit process (e.g., for a project where the applicant

has voluntarily decided to obtain a Section 10 permit). This carve-out would be consistent with


Florida 404 permits indicate incidental take. Dkt. 163 at 94. For clarification, the 2019 statistic
was an estimate based on individual permits issued by the Corps in the years preceding Florida
assumption application. The 2024 statistic cited by FDEP in recent briefing is based on general
and individual permits that were actually issued by FDEP during the last three years. As a point
of reference, Michigan’s public website for its 404 program states that approximately 1% of
Michigan 404 permits trigger EPA review there. See infra at 18.
12
   For example, FDEP is currently processing various permits for road projects funded through
the federal highway program. As federally-funded projects, the Florida Department of
Transportation (FDOT) stands in the shoes of the Federal Highway Administration for purposes
of obtaining permits and approvals for projects. These FDOT projects are able to undertake
Section 7 consultation procedures. This is a clear category of projects that should be exempt
from this Court’s vacatur order. See Wolfe Decl. ¶ 14.


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this Court’s rationale for its February 15 ruling and ensure that the core concerns underlying this

Court’s vacatur order are addressed. Those avenues also ensure the requested clear path for judicial

review for Plaintiffs or other affected parties as to specific projects with potential effects to listed

species. This approach is also already reflected in the Florida process, as set forth in Section 5.2.3

of the Florida 404 Handbook and as approved by EPA, so it should not require modification of the

program to implement.

       E.      Fifth, may FDEP continue to enforce Section 404 violations in all assumable
               waters during the pendency of the limited stay?

       FDEP is committed to fair and vigorous enforcement of the Section 404 program. To that

end, Florida Intervenors also wish to emphasize that, for the duration of the limited stay, FDEP

should be viewed as retaining primary enforcement authority in all assumable waters for any

violations. This clarification is particularly important with regard to unpermitted discharges (i.e.,

where persons engage in dredge and fill activities in assumable waters in Florida without

obtaining a 404 permit). The limited stay should clearly state that nothing in the order restricts

Florida’s authority to enforce the Section 404 program in assumable waters. As always, the

Clean Water Act specifically allows for parallel federal enforcement where warranted. See 33

U.S.C. § 1344(n).

       F.      Sixth, how long should the limited stay remain in effect?

       Florida Intervenors respectfully suggest that the limited stay should be in place for at

least six months, with the possibility of extensions as granted by this Court as circumstances may

warrant. Courts in this Circuit have regularly stayed vacatur of agency decisions for the amount

of time it would take for the federal agency (or the state with delegated authority) to remedy the

issue. Friends of Earth, 446 F.3d at 148 (“[W]e remand to the district court with instructions to

vacate EPA’s approvals… however, [] the parties may move to stay the district court's order on



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remand to give either the [State with the flawed delegated CWA program] or EPA a chance to

[remedy the vacated issue]. These timelines defer to the discretion of the agency on the length of

time.”); Nat’l Treasury Employees Union v. Horner, 854 F.2d 490, 501 (D.C. Cir. 1988)

(“Because we are not in the best position to determine the shortest reasonable timetable ..., we

remand the case for [the] district court to establish, in consultation with the parties, an expedited

schedule for further rulemaking proceedings consistent with this opinion.”).

       G.      Seventh, if this Court declines this proposed “may affect” process based on
               Federal Defendants’ “partial assumption” concern, would the approach
               employed in New Jersey and Michigan serve as an appropriate mechanism for
               the duration of the limited stay?

       Florida Intervenors have previously expressed concerns with “partial assumption” given

EPA’s position that states must assume the entirety of the 404 program in assumable waters. Dkt.

162-1 at 2. Federal Defendants continue to have reservations about a limited stay that

“federalizes” permit applications on the basis of a “may affect” mechanism. Dkt. 165. Florida

Intervenors share that concern, but respectfully suggest that the “may affect” process set forth in

this Motion navigates those concerns appropriately in the context of a limited stay, within the

confines of the conditions set by this Court in its February 15 ruling.13

       Nevertheless, if this Court is not inclined to grant a limited stay based on the proposed

“may affect” mechanism presented above, Florida Intervenors respectfully request that this Court

fashion a limited stay following the New Jersey and Michigan approach. Under that form of

limited stay, FDEP would continue to implement both the existing technical assistance process

(as reflected in the Florida-specific program documents) as supplemented by the same basic

“Procedures” set forth in Section III of the New Jersey-EPA-FWS MOA (AR FWS-006148 to -

13
   To the extent this Court set those conditions in light of New Jersey permits being “federalized”
in “may affect” or even “adversely affect” situations, that underlying premise is not correct and
would be a basis for altering the conditions set by this Court for a limited stay.


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006152). The procedures used in all three states are similar in relevant respects. While incidental

take liability coverage would not be provided to Florida 404 permittees under that process, it

would still serve as a consistent and appropriate process for species review purposes (including

for purposes of 40 C.F.R. § 233.51). And since it is the process currently employed by EPA and

FWS in New Jersey and Michigan, implementation in this context should not pose partial

assumption concerns.

       In the case of New Jersey, FWS has committed via MOA to review a state 404 permit

where a “may affect” situation exists (but not otherwise). See New Jersey-FWS MOA at 3-4

(FWS-006148 to 006149) (explaining that “NJDEP staff will screen” all general permits for

potential impacts to species and send over for FWS review any general permits that NJDEP

determines to have “potential to adversely affect federally listed species,” and NJDEP provides

FWS “with a copy of all applications for individual permits from locations with federally listed

species”). Yet, under the New Jersey MOA, a permit is only federalized (transferred to the Corps

for processing, as opposed to simply sent to FWS/EPA for federal review) if EPA/FWS actually

objects to NJDEP’s plans to issue a permit and imposes conditions that NJDEP refuses to accept.

Id. at 4-5 (FWS-006149 to -006150). Again, that is the same basic process already used in

Florida.

       Here, it is important to pause to address a potential misconception in this Court’s

February 15 ruling, which describes the New Jersey model as involving a process where “the

State [of New Jersey] has agreed to ‘federalize’ – that is, pass to the FWS and NMFS for

review – any permits that might affect protected species…” Dkt. 163 at 23 (emphasis added).

Earlier in its ruling, the Court similarly describes the New Jersey model as involving a process

where “EPA can federalize those applications likely to adversely affect listed species, thereby




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triggering Section 7 consultation…” Dkt. 163 at 5 (emphasis added). This understanding of the

New Jersey model (and the Michigan model) warrants some clarification. Federal “review” is not

the same as “federalizing.” Specifically, federal “review” for purposes of 40 C.F.R. §§ 233.50-

.51 involves EPA/FWS evaluating whether a permit application will jeopardize listed species or

adversely modify designated critical habitat, whereas “federalizing” a state 404 permit occurs

when EPA, after a state refuses to deny a permit or otherwise fails to adequately address a

concern raised by the federal agencies, takes the permit away from the state and hands it to the

Corps of Engineers for processing (in accordance with 40 C.F.R. § 233.50(j)). In New Jersey,

EPA does not “federalize those applications likely to adversely affect listed species.” Compare

Dkt. 163 at 5. To the contrary, state 404 permits in New Jersey undergo “federal review” (i.e.,

review by FWS and EPA) and terms and conditions provided by EPA/FWS can be incorporated

into the New Jersey 404 permit, but those permits are only “federalized” in “the event that [New

Jersey] neither satisfies the EPA’s objections or requirements for a permit condition … nor

denies the permit…” See Section III(K)-(O) of the MOA between NJ-FWS-EPA (FWS-006152).

New Jersey has an opportunity to accept the conditions to avoid adversely affecting listed

species. See Section III(L). If New Jersey does not agree to those actions specified by FWS,

FWS then proceeds with making a “finding as to whether the proposed permitting action is likely

to jeopardize the continued existence of the federally-listed species, adversely modify or destroy

designated critical habitat, or result in the incidental take of federally-listed species.” Section

III(M) (emphasis added). And New Jersey “may also include” other “appropriate terms and

conditions to minimize or avoid adverse effects” to listed species. Id. Ultimately, EPA’s

objections and possible “federalizing" of a New Jersey 404 permit is not based on “adversely

affecting” species; those objections must be based on a finding that issuance of the permit would




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“jeopardize” the continued existence of listed species or adversely modify designated critical

habitat or otherwise fail to “avoid or minimize incidental take of federally-listed species.” See

Section III(N)-(O). Crucially in fact, this is the same basic process already used in the Florida

404 program for purposes of the “federal review” requirements under 40 C.F.R. Part 233.

Additionally, at the back end of the federal review process in New Jersey, an objection “may be

reconsidered if the project, as permitted by NJDEP, changes or if additional information on

federally-listed species or designated critical habitat becomes available.” Section III(P).

       Michigan has a MOA with EPA governing Michigan’s Section 404 Program, but unlike

Florida and New Jersey, Michigan apparently has no MOA with FWS for conducting species

reviews. Instead, the Michigan-EPA MOA provides that FWS reviews permit applications for

projects proposing “discharges with reasonable potential for affecting endangered or threatened

species as determined by the USFWS.” Thus, in Michigan, FWS reviews state 404 permit

applications where Michigan finds that a project “may affect” listed species. This is spelled out

on the 404 website for the Michigan Environmental Department (agency known as “EGLE”)14:

       [Michigan’s] 1983 Memorandum of Agreement (as amended) with USEPA Region
       5 outlines the procedures to be followed in program administration. This agreement
       waives federal review of the vast majority of applications in areas under Michigan's
       404 jurisdiction. However, federal agencies must review projects which impact
       critical environmental areas, or which involve major discharges. These projects are
       identified in the Memorandum of Agreement [to] include … [p]rojects with
       potential to affect endangered or threatened species as determined by the U.S. Fish
       and Wildlife Service… At the present time, USEPA reviews about one percent of
       all applications received. If EGLE determines that an application under Michigan's
       404 program is subject to federal review, copies of the public notice are sent to
       USEPA Region 5, Detroit District Corps, and the U.S. Fish and Wildlife Service.
       The USEPA is responsible for compiling all federal comments and submitting
       comments on the federal position to EGLE....



14
  See https://www.michigan.gov/egle/about/organization/water-resources/wetlands/state-and-
federal-wetland-regulations.


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In other words, in Michigan and New Jersey, a “may affect” finding (or even a finding of “likely

to adversely affect”) does not result in transfer of the permit application to the Corps of

Engineers (federalizing). For both of those state 404 programs (which, again, do not have now,

and never had, any programmatic biological opinion), Michigan and New Jersey continue to

process all “may affect” permits unless and until the state refuses to adopt conditions imposed by

EPA and/or FWS in a “jeopardy” or “minimize incidental take” situation. That serious

disconnect between what this Court may envision for a “may affect” mechanism and what

actually happens in New Jersey and Michigan warrants further consideration with respect to the

appropriate remedy here.

        A limited stay built on the New Jersey and Michigan approach has other virtues as well.

Most notably, that form of limited stay would avoid imposing restrictions and burdens on Florida

404 permit applicants that are not applicable to Michigan and New Jersey 404 permit applicants

as it relates to species reviews. It is one thing to say that state permittees in Florida will no longer

receive incidental take liability protection via state 404 permits; that is already the case in New

Jersey and Michigan (since formal consultation procedures were not used in either state’s 404

assumption process). But it is something else entirely to say that Florida 404 permit applications

are automatically transferred to the Corps of Engineers on the mere basis of a “may affect”

finding, where that is not the actual practice in New Jersey or Michigan and it potentially runs

afoul of partial assumption concerns. As an exercise of this Court’s equitable discretion, this

Court’s limited vacatur remedy should take into account equitable treatment of the three states in

this particularly unique context. Likewise, even though this Court finds fault with the formal

consultation approach employed by Florida, EPA, and FWS, that is a process that goes above

and beyond what was done in the other two states at the assumption stage.




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          Likewise, a limited stay built on the New Jersey and Michigan approach would obviate

many of the difficult implementation questions identified earlier in this Motion. For example, it

would simplify the “may affect” approach and mechanism, and it would create fewer scenarios

where complex questions of “federalizing” permits need to be addressed. The Corps of Engineers

would, likewise, not be met with an onslaught of permits for processing from scratch. And it

avoids many concerns related to reducing Florida’s enforcement authority over assumable

waters.

                                           CONCLUSION

          For the foregoing reasons, Florida Intervenors respectfully move for a limited stay of this

Court’s February 15 vacatur order, as described above and set forth in the proposed order filed

concurrently. Given the urgency of the issue, Florida Intervenors respectfully request expedited

decision on this Motion.


Dated: February 26, 2024                               Respectfully submitted,

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                                 CERIFICATE OF SERVICE

      I hereby certify that on this the 26th day of February 2024, I electronically filed the foregoing

document using the CM/ECF system. Service was accomplished by the CM/ECF system.


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